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  Fill in this information to identify the case:

  United States Bankruptcy Court for the:

  Northern District of Texas

 Case number (if known):                                   Chapter 15                                                                        Li Check if this is an
                                                                                                                                                 amended filing



Of
 ficial Form 401
Chapter 15 Petition for Recognition of a Foreign Proceeding                                                                                               12/15

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write debtor's name and case number (if known).



                                             Eag le Energy I nc.
1. Debtor's name



2. Debtor's unique identifier               For non-individual debtors:

                                                 O    Federal Employer Identification Number(EIN)

                                                 g Other Corporate Access No.                      Describe identifier 2019443270

                                            For individual debtors:

                                                 U    Social Security number:      xxx — xx—

                                                 CI   Individual Taxpayer Identification number (ITIN): 9 xx — xx —

                                                 LI   Other                                      . Describe identifier



3. Name of foreign
   representative(s)                         FTI Consulting Canada I nc.

4. Foreign proceeding in which
   appointment of the foreign                COURT OF QUEEN'S BENCH OF ALBERTA Court File No. 1901-16293
   representative(s) occurred

5. Nature of the foreign
                                            Check one:
   proceeding
                                            O Foreign main proceeding
                                            O Foreign nonmain proceeding
                                            ▪ Foreign main proceeding, or in the alternative foreign nonmain proceeding


6. Evidence of the foreign                  • A certified copy, translated into English, of the decision commencing the foreign proceeding and
   proceeding                                 appointing the foreign representative is attached.

                                            O    A certificate, translated into English, from the foreign court, affirming the existence of the foreign
                                                 proceeding and of the appointment of the foreign representative, is attached.

                                            O    Other evidence of the existence of the foreign proceeding and of the appointment of the foreign
                                                 representative is described below, and relevant documentation, translated into English, is attached.




7. Is this the only foreign                 O    No. (Attach a statement identifying each country in which a foreign proceeding by, regarding, or against the
   proceeding with respect to                    debtor is pending.)
   the debtor known to the
                                            121 Yes
   foreign representative(s)?




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Debtor       Eagle Energy I nc.                                                           Case numberla a may
             Name



8. Others entitled to notice      Attach a list containing the names and addresses of:
                                  (i)     all persons or bodies authorized to administer foreign proceedings of the debtor,
                                  (ii) all parties to litigation pending in the United States in which the debtor is a party at the time of filing of this
                                       petition, and
                                  (iii) all entities against whom provisional relief is being sought under § 1519 of the Bankruptcy Code.


9. Addresses                      Country where the debtor has the center of its                 Debtor's registered office:
                                  main interests:


                                  Canada                                                         2710, 500 - 4TH AVENUE S.W.
                                                                                                 Number         Street


                                                                                                 P.O. Box

                                                                                                 CALGARY AB T2P 2V6
                                                                                                 City             State/Province/Region    ZIP/Postal Code


                                                                                                  CANADA
                                                                                                 Country




                                  Individual debtor's habitual residence:                        Address of foreign representative(s):


                                                                                                 520 5th Ave SW,Suite 1610
                                  Number         Street                                          Number         Street


                                  P.O. Box                                                       P.O. Box

                                                                                                  Calgary, Alberta T2P 3R7
                                  City             State/Province/Region   ZIP/Postal Code       City             State/Province/Region    ZIP/Postal Code

                                                                                                  Canada
                                  Country                                                        Country




10. Debtor's website(URL)          http://www.eagleenergy.com/ and http://cfcanada.f
                                                                                   ticonsulting.com/Eagleenergy


ii. Type of debtor                Check one:

                                  121    Non-individual (check one):

                                         • Corporation. Attach a corporate ownership statement containing the information
                                           described in Fed. R. Bankr. P. 7007.1.

                                           ❑    Partnership

                                           ❑    Other. Specify:

                                  ❑      Individual




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Debtor      Eagle Energy Inc.                                                                Case number or h...n1
             Nemo



12. Why is venue      proper in this   Check one:
    district?                          ❑     Debtor's principal place of business or principal assets in the United States are in this district.
                                       ❑     Debtor does not have a place of business or assets in the United States, but the following
                                             action or proceeding in a federal or state court is pending against the debtor in this district:


                                       Id    If neither box is checked, venue is consistent with the interests of justice and the convenience
                                             of the parties, having regard to the relief sought by the foreign representative, because:
                                              US subsidiary's principal assets in the US are in this district


13. Signature of foreign
   representative(s)                   I request relief in accordance with chapter 15 of title 11, United States Code.

                                       I am the foreign representative of a debtor in a foreign proceeding, the debtor is eligible for the
                                       relief sought in this petition, and I am authorized to file this petition.

                                       I have examined the information in this petition and have a reasonable belief that the
                                       information is true and correct.

                                       I declare under penalty of perjury that the foregoing is true and correct,


                                       x                                                               Deryck Helkaa, FTI Consulting
                                            Sig              egn representative                        Printed name


                                       Execu                 1/20/2019
                                                            MM / DD f YYYY


                                       x
                                            Signature of foreign representative                        Printed name


                                       Executed on
                                                            MM /DDiVYYY



14. Signature of attorney              X /s/Greg M. Wilkes                                             Date          (l/ a OI a09
                                            Signature of Attorney for foreign representative                         MM /DO/ YYYY
                                            Greg M. Wilkes
                                            Printed name
                                            Norton Rose Fulbright US LLP
                                            Firm name
                                            2200 Ross Avenue Suite 3600
                                            Number         Street
                                            Dallas                                                       Texas          75201
                                            City                                                           State           ZIP Code


                                            (214)855-8000                                            greg.wilkes@nortonrosefulbright.com
                                            Contact phone                                                  Email address



                                            24047105                                                       TX
                                            Bar number                                                     State




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                                  SCHEDULE A TO CHAPTER 15 PETITION

       Item 4: Foreign proceeding in which appointment of the foreign representative(s)
occurred: In the Matter ofthe Receivership ofEagle Energy Inc. et. al, Alberta Court of Queen's
Bench File No. 1901-16293.

         Item 8: Others entitled to notice:

        Attach a list containing the names and addresses of: (i) all persons or bodies authorized to
administer foreign proceedings of the debtor, (ii) all parties to litigation pending in the United
States in which the debtor is a party at the time of filing of this petition, and (iii) all entities
against whom provisional relief is being sought under § 1519 of the Bankruptcy Code.

          See attached Schedule Al.

       Item 11: Type of Debtor: Corporate Ownership Statement containing the information
described in Fed. R. Bankr. P. 7007.1 See attached.




Eagle Schedule A to Eagle Canadian_ Form 401 Petitions.doc.DOCX- 1 -
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                                           Schedule Al: Eagle Energy Inc.

Section 8 — Others Entitled to Notice
1. List containing the names and addresses of all persons or bodies authorized to administer
foreign proceedings ofthe debtor

FTI Consulting Canada Inc.
Attn: Deryck Helkaa
Senior Managing Director
Corporate Finance
520 5th Ave SW,Suite 1610
Calgary, Alberta T2P 3R7
Canada
1.403.454.6031
Deryck.Helkaa@fticonsulting.com


2. List containing the names and addresses of all parties to litigation pending in the United States
in which the debtor is a party at the time of filing ofthis petition: none.


3. List containing the names and addresses of all entities against whom provisional relief is being
sought under §1519 ofthe Bankruptcy Code. Attached below.




Eagle Schedule A to Eagle Canadian_ Form 401 Petitions.doc.DOCX- 2 -
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  Absolute Hydraulics
  7701 102 Ave
  Peace River, AB T8S 1M5


  Alberta One-Call Corporation
  104, 4242 - 7th Street SE
  Calgary, AB T2G 2Y8


  Alphabow Energy Ltd.
  1800, 222 - 3rd Avenue SW
  Calgary, AB T2P OB4


 Aon Reed Stenhouse Inc.
 Lockbox No. 310350
 PO Box 578, STN. M
 Calgary, AB T2P 2J2


 Bluewave Energy
 A Division ofParkland Ind Ltd.
 PO Box 2030 STN M
 Calgary, AB T2P 1K6


 Bonnett'S Energy Svc Partnership
 PO Box 9660 STN. M
 Calgary, AB T2P 0E9


 Broadridge
 PO Box 57461
 Postal Station "A"
 Toronto, ON M5W 5M5


 Bumper Dev Corp Ltd. by Ct Appt Rec
 c/o Alvarez & Marsal Canada Inc.
 Attn: Mr. Orest Konowalchuk
 Bow Val Sq IV Ste 1110, 205-6 Av SW
 Calgary, AB T2P 3H7
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  Canada Revenue Agency
  NRT
  875 Heron Road
  Ottawa, ON K1A 1B1


  Cequence Energy Ltd.
  3100, 525 - 8 Ave SW
  Calgary, AB T2P 1G1


 Citimail
 PO Box 643, Station "M"
 Calgary, AB T2P 2J3


 CLP Office Technology
 940A 11 Ave SW
 Calgary, AB T2R 0E7


 CNW Group
 RBC Waterpark Place
 Suite 3000, 88 Queens Quay West
 Toronto, ON M5J 0B8


 Computershare
 Accounts Receivable Department
 11 Floor, 100 University Ave
 Toronto, ON M5J 2Y1


 Control Tech 2011 Ltd.
 11001 - 78 Ave
 Grande Prairie, AB T8V 1A7


 Creit Management L.P.
 in Trust for Altius Centre
 Suite 210, 140 4th Ave SW
 Calgary, AB T2P 3N3
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  Critical Control Energy Svc Inc.
  800, 140 - 10Th Avenue South East
  Calgary, AB T2G OR1


  Daniel Clark
  c/o Eagle Energy Trust
  900, 639 - 5 Ave SW
  Calgary, AB T2P 0M9


  Dire Contracting & Rentals
  Box 361
  Grimshaw, AB TOH IWO


  DNOW Canada ULC
  PO Box 664 STN. M
  Calgary, AB T2P 2J3


  Eagle Energy Inc.
  2710, 500 - 4 Ave SW
  Calgary, AB T2P 2V6


  Eagle-Coda Petroleum Inc.
  2710 - 500 - 4 Ave SW
  Calgary, AB T2P 2V6


  Energylink Holdings, LLC
  Suite 1100,639 - 5 Avenue SW
  Calgary, AB T2P 0M9


  Enmax Commercial Services Inc.
  141 - 50 Avenue SE
  Calgary, AB T2G 4S7


  Fireball Express Courier
  150, 700 - 4Th Avenue SW
  Calgary, AB T2P 3J4
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  Fireball Visions Ltd.
  3624 Rue De Verdun
  Verdun, QC H4G 1K4


  Fluid Pressure Testing Ltd.
  Box 836
  Manning, AB TOH 2M0


 Fulcrum Crude Marketing
 601, 1015 - 4Th Street SW
 Calgary, AB T2R 1J4


 Herbison Welding Ltd
 PO Box 6156
 Peace River, AB T8S 1S2


 HJ Mechanical Services Ltd.
 Box 884
 Grimshaw, AB TOH IWO


 I-Dent Group Inc.
 7212 Flint Place SE
 Calgary, AB T2H 1Y8


 Insignia Energy Ltd.
 800, 520 - 3 Ave SW
 Calgary, AB T2P OR3


 Jim Pattison Leasing
 1235 — 73rd Avenue South East
 Calgary, AB T2H 2X1


 Manzer Energy Inc.
 PO Box 10012 RPO Supercenter
 Peace River, AB T8S 0A7
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  Minister of Fin Province of Alberta
  Petroleum Plaza North Tower
  9945 108 Street NW Floor 7
  Edmonton, AB T5K 2G6

  MRC Global ULC
  c/o LB 310130 PO Box 578 STN M
  Calgary, AB T2P 2J2


  Nexen Marketing
  801 - 7Th Avenue SW
  Calgary, AB T2P 3P7


  P2 Energy Solutions Alberta ULC.
  Lockbox # C06006C
  Box 60, Station M
  Calgary, AB T2P 2G9


  Parcels Vac Service, 1826435 Ab Ltd
  36305 RR 270
  Red Deer County, AB TOM 1R0


  Pat's Auto Supply
  102803 - 100St
  Grande Prairie, AB T8V 4H3


  Pengrowth Energy Corporation
  1900, 222 - 3 Avenue SW
  Calgary, AB T2P OB4


  Perisson Petroleum Corp
  2000, 530 - 8Th Avenue SW
  Calgary, AB T2P 3S8


  Peyto Exploration & Dev Corp
  300, 600 — 3rd Avenue SW
  Calgary, AB T2P 0G5
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  Point Loma Resources Ltd.
  2000, 350 - 7 Ave SW
  Calgary, AB T2P 3N9


  Provincial Treasurer Min ofFin
  9945 - 108 Street
  Edmonton, AB T5K 2G8


  Ramier Resources Ltd.
  7010 - 11 Avenue SW
  Calgary, AB T3H 4B4


  RCAP Leasing Inc
  300-5575 North Service Road
  Burlington, ON L7L6M1


  Ridgeback Resources Inc.
  2800, 525 - 8 Ave SW
  Calgary, AB T2P 1G1


  Sanling Energy Ltd.
  1700, 250 - 2 Street SW
  Calgary, AB T2P 0C1


  Secure Energy Services
  1900, 205 - 5 Ave SW
  Calgary, AB T2P 2V7


  Select Communications Inc.
  DBA: Select Call Centre
  201 10368 82 Ave NW
  Edmonton, AB T6E 1Z8


  Shaw Cablesystems G.P.
  Box 1607, STN Main
  Calgary, AB T2P 2L7
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  Sitka Exploration Ltd.
  1200, 350 - 7 Ave SW
  Calgary, AB T2P 3N9


  Solium Capital ULC.
  1500, 600 — 3rd Avenue SW
  Calgary, AB T2P 0G5


  Spyglass Resources Corp.
  Livingston Place, West Tower
  1700, 250 - 2Nd Street SW
  Calgary, AB T2P 0C1


  Staples Business Advantage
  do C25043C PO Box 2524 STN M
  Calgary, AB T2P 1B1


  Surecall Contact Centres Ltd.
  240S, 3030 — 3rd Avenue NE
  Calgary, AB T2A 6T7


  Tervita Corporation
  do C3025
  Box 2572, STN M
  Calgary, AB T2P 3L4


  The Bank of Nova Scotia - Visa Only
  X
  X
  X, AB


  TR Westcan Inc.
  8035 North Fraser Way
  Burnaby, BC V5J 5M8


  Transzap P2P Canada, Inc
  130, 115 Quarry Park Road SE
  Calgary, AB T2C 5G9
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  West Cal Gas Ltd.
  163 Valley Creek Road NW
  Calgary, AB T3B 5W7


  Western Canadian Consulting Inc.
  1 19 Park Meadow Place
  Olds, AB T4H 1Y4
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  AEP Texas
  PO Box 24424
  Canton, OH 44701


  Americawest Resources, LLC
  Box 3383
  Midland, TX 79702


  Andrea Alfred


  Atmos Energy Corporation
  PO Box 841425
  Dallas, TX 75284-1425


  B&R Land And Cattle, LLC.
  PO Box 2243
  Longview, TX 75606


  Bee-Line Delivery Service
  Box 571267
  Houston, TX 77257-1267


  Bennett Jones
  Attn: Chris Simard
  4500 Bankers Hall East, 855
  2nd Street SW
  Calgary, AB T2P 4K7


  Bennie Garza
  DBA Garza Auto Repair
  210 West 11 Street
  Quanah, TX 79252


  Biegler Brothers(A Company)
  PO Box 188
  W. HWY 20
  Timberlake, SD 57656
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  Bill Neal
  326 Country Place South
  Abilene, TX 79606


  Black Shale Minerals, LLC
  PO Box 2243
  Longview, TX 75606


  Caldwell County Appraisal District
  PO Box 900
  Lockhart, TX 78644


  Caldwell County Clerk
  1703 S. Colorado St.
  Box 1, Suite 1200
  Lockhart, TX 78644


  Caldwell County Tax Assessor-Col
  100 E Market St
  Lockhart, TX 78644


  City OfLuling
  509 E. Crockett
  Luling, TX 78648-2603


  City Of Quanah
  PO Box 629
  Quanah, TX 79252


  Cliff C. Henderson
  Box 4632
  Wichita Falls, TX 76308


  Collette B. Madison
  3523 Hart Lane Sw
  Rochester, MN 55902
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  Conocophillips Company
  Attn: Outside Operated JIB
  360 Plaza Office Building
  315 S. Johnston Ave.
  Bartlesville, OK 74004


  C-Rose Corporation
  PO Box 1630
  Rockwall, TX 75087


  Dale Ellens
  46461 230 St
  Wentworth, SD 57075


  Dallas Department of Revenue
  1100 Commerce Street
  Room 121
  Dallas, TX 75242


  Daryl A Paclik Living Trust 02/01/03,
  Attn: Daryl A.Paclik, Trustee
  1400 E. Benson Rd.
  Sioux Falls, SD 57104


  Dean Madison
  1 16 W.Doral Ct.
  Sioux Falls, ND 57108


  Delaware Secretary Of State
  PO Box 5509
  Binghamton, NY 13902-5509


  Denise Heil
  PO Box 770424
  Steamboat Springs, CO 80477
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  Department OfEnvironmental Quality
  PO Box 2036
  Oklahoma City, OK 73101


  DLA Piper LLP(US)
  PO Box 75190
  Baltimore, MD 21275


  DLA Piper LLP(US)
  Attn: Mark Waite
  1000 Louisiana
  Suite 2800
  Houston, TX 77002


  Duane Bly
  25837 - 484 Ave
  Valley Springs, SD 57068


  Dwight Hendricks Trust
  13723 Woodward
  Overland Park, KS 66223


  Eagle Energy Acquisitions LP
  333 Clay Street
  Suite 3005
  Houston, TX 77002


  Eagle Hydrocarbons Inc.
  Energy Tower IV
  1 1750 Katy Freeway
  Suite 830
  Houston, TX 77079-1255


  Endeavor Energy Resources L.P.
  1 10 N Marienfeld
  Suite 200
  Midland, TX 79701
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  Energy Tower IV Investments Ltd.
  11750 Katy Fwy, Suite 1300
  Houston, TX 77079


  Estate Of Robin Ruth Webb Street
  1549 Weeks Street
  Wichita Fals, TX 76302


  Flusche Supply Of Quanah Inc
  PO Box 351
  Electra, TX 76360


  FP Mailing Solutions
  PO Box 157
  Bedford Park, IL 660499-015


  Gary Majors Revocable Trust
  PO Box 696
  Weleetka, OK 74880


  Gayle Hander
  5208 Prairie CR.Place
  Sioux Falls, SD 57108


  GLB Exploration Inc
  7716 Melrose Lane
  Oklahoma City, OK 73127


  Glynda Reid,
  640 Honeycutt Road
  Chillicothe, TX 79225


  Gregg W. Carlson
  1204 N. Kline Street
  Aberdeen, SD 57401
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  Hamlin G. Fox
  1115 Barbara
  Tyler, TX 75701


  Hardeman County/District Clerk's Office
  PO Box 30
  Quanah, TX 79252


  Harris County Tax Assessor-Collector,
  PO Box 4622
  Houston, TX 77210-4622


  Hoffman Ventures LLC
  c/o Blake Hoffman
  3513 South Marson Manor Circle
  Sioux Falls, SD 57103


  Hubco Financial Services, Inc.
  Profit Sharing Plan
  c/o Howard Lein
  12726 N 98 Place
  Scottsdale, AZ 85260


  Internal Revenue Service
  Bankruptcy Insolvency Unit - PO Box 7346
  Philadelphia, PA 19101-7346


  Jack County Appraisal District
  PO Box 958
  Jacksboro, TX 76458


  James M.Rohl
  1419 North Main
  Aberdeen, SD 57401


  Janette A. Holley
  Box 3602
  Wichita Falls, TX 76301
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  Janice O'Connor
  5608 South Copperhead Dr.
  Sioux Falls, SD 57108


  Jeffery & Judy Bush
  JT Ten by ENT JT
  2421 Sleepy Oak Lane
  Deland, FL 32720


  Jenifer Edmondson
  1213 Wendy Lane
  Altus, OK 73521


  Jerry W.(Jay) Morton Revocable Trust
  1916 Mulholland Dr.
  Edmond, OK 73012


  Jewell Exploration Ltd.
  c/o Steve Jewell
  2847 Panorama
  Carrollton, TX 75005


  Joan B. Squires
  99 Mountain Oak Dr.
  Bayfield, CO 81122-9781


  John F. Warren
  509 Main Street
  Records Building, 2nd Floor
  Dallas, TX 75202


  John N. HuffIII
  3701 Hunters Creek Rd
  Edmond, OK 73003
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  Johnson Trust
  c/o Gene Johnson
  PO Box 305
  1700 Rushmore Dr.
  Brandon, SD 57005


  Kamay Electric Services, Inc.
  PO Box 144
  Kamay, TX 76369


  Keith Hufsey
  445 Newsom Mound
  Weatherford, TX 76085


  Kelley Family Inc.
  40580 250 Street
  Mitchell, SD 57301


  Kirt Warrack


  Kriskon Oil & Gas, Inc.
  4809 Cole Avenue
  Suite 109
  Dallas, TX 75205


  L K Ellenberger Trust
  12724 Cedar
  Leawood, KS 66209


  L&S Hot Oil Service Inc
  9059 Highway 70s
  Vernon, TX 76384


  Lario Transports Inc.
  9059 US Hwy 70 S.
  Vernon, TX 76384
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  Lein Family Trust, Howard Lein, Trustee
  12726 N 98 Place
  Scottsdale, AZ 85260


  Lewis H Wiens Revocable Trust
  148 Lake Shore West Lake
  Quivira, KS 66217


  Lewis Operating Company
  PO Box 10
  Holliday, TX 76366


  Marguerite Reston Von Tress
  2515 Parana Dr
  Houston, TX 77080


  Marian Webb Miller
  114 Paloma Ave 3
  Venice, CA 90291


  Mark Nethery
  11501 Saratoga Club Road
  Louisville, KY 40299


  Martin County Tax Assessor Collector
  Attn: Kathy Hull Rta
  Box 998
  Stanton, TX 79782


  Medallion Energy Services, LLC.
  222 West Las Colinas Blvd.
  Suite 1140E
  Irving, TX 75039


  Melissa Webb Hogan
  2412 Hempstead Ln
  Wichita Falls, TX 76308-1941
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  Michael Mechtenberg
  24687 47 8 Avenue
  Dell Rapids, SD 57022-5346


  Michael Rasco
  2205 Culver Dr.
  Midland, TX 79705


  Michael Van Buskirk
  1304 West Mosby Circle
  Sioux Falls, SD 57108


  Mike O'Connor
  5608 South Copperhead Dr
  Sioux Falls, SD 57108


  Milbourn Lynch Partnership
  1700 Eureka Road
  Suite 155
  Roseville, CA 95661


  Miller Consulting, Inc.
  1000 West Avenue
  Austin, TX 78701


  Mitch C. Green
  DBA MCG Drilling & Completing, LLC
  PO Box 399
  Archer City, TX 76351


  OAG Holdings, LLC
  1900 Bridge Lan
  Unit 5B
  Steamboat Springs, CO 80487
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  Off ofthe US Trustee for N Dist of TX
  Attn: William T. Neary
  1100 Commerce Street
  Room 976
  Dallas, TX 75242


  Palo Pinto County Tax Office
  Attn: Linda Tuggle
  Tax Assessor-Collector
  Palo Pinto, TX 76484-0160


  Pat & Al LLC
  PO Box 997
  Ft Pierre, SD 57532


  Petroleum Solutions International LLC
  PO Box 5228
  Lafayette, LA 7505-2285


  Quail Trails LLC
  1301 NW 156 Ter
  Edmond, OK 73013


  Quanah I.S.D.
  PO Box 388
  Quanah, TX 79252


  Quanah Oil Company
  PO Box 126
  Quanah, TX 79252


  Quentin Huerter Trust,
  c/o Quentin Huerter
  12504 Aberdeen Road
  Leawood, KS 66209
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  Richard L. Prey
  12051 Lincoln Avenue
  Clive, IA 50325


  Robert E. Brown Asset Mgmt Trust
  Co. Of Oklahoma
  Box 3627
  Tulsa, OK 74101


  Robert N Osmund Rev Trust
  Robert Newton Osmund Trustee
  14241 SE 83 Street
  Newcastle, WA 98059


  Roberts & Hammack Inc.
  4925 Greenville Ave.
  Suite 1140
  Dallas, TX 75206


  Roger Werth
  1602 Werth Court
  Aberdeen, SD 57401


  Salt Flat Acquisition LLC
  16 West 46 Street, 11th Floor
  New York, NY 10036


  Schmidt-Grimminger, Delf
  21 Riverview Hts.
  Sioux Falls, SD 57105


  Sharyland Utilities
  PO Box 650726
  Dallas, TX 75265-0726
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  Shirley A. Ellenberger Trust
  c/o Shirley A. Ellenberger
  12724 Cedar
  Leawood, KS 66209


  Stacy Lane Cope
  1791 North Calhoun
  Liberal, KS 67901


  Stearns Tire & Lube
  300 Mercer St.
  Quanah, TX 79252


  Steve Pfeiffer
  PO Box 1555
  Aberdeen, SD 57402-1555


  Steven Schurr
  PO Box 105
  Roscoe, SD 57471


  STRC Oilfield Technology, LLC
  327 N. Denton St.
  Weatherford, TX 76086


  Sujote David Revocable Trust
  c/o David Sujote, Trustee
  18980 W. 115 Terrace
  Olathe, KS 66061


  Sunoco


  TBBK Direct Leasing
  PO Box 140733
  Orlando, FL 32814-0733
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  Texas Comptroller OfPublic Accounts
  Unclaimed Property Holder
  Reporting Section
  Austin, TX 78711-2019


  Texas Comptroller OfPublic Accounts
  111 E. 17 Street
  Austin, TX 78774-0100


  Texas General Land Office
  1700 Congress Ave
  Austin, TX 78701


  The Samuel R Judd, Jr. Trust
  3804 Buffalo St.
  Vernon, TX 76384


  Thomas T. Jr. Holley
  Box 3602
  Wichita Falls, TX 76301


  Three Allen Center Co LLC
  PO Box 206513
  Dallas, TX 75320-6513


  Thurmond-Mcglothlin, LLC
  A/R Department
  Box 2358
  Pampa, TX 79066-2358


  TJ Johnson Oil And Gas I, LLC
  1215 W.Ralph Rogers Road
  Sioux Falls, SD 57108


  TJ Johnson Oil And Gas IV, LLC
  1215 W.Ralph Rogers Road
  Sioux Falls, SD 57108
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  TJ Johnson Oil And Gas V, LLC
  1215 W.Ralph Rogers Road
  Sioux Falls, SD 57108


  Troy Pierce
  4012 Edgewater Place
  Mandan, ND 58554


  United States Department of Justice
  Attn: Legal Department
  950 Pennsylvania Avenue, NW
  Washington, DC 20530-0001


  United States Treasury
  PO Box 1300
  Charlotte, NC 28201-1303


  US Atty Off. For The Northern Dist of TX
  Attn: Ericn Nealy Cox
  1100 Commerce Street
  Suite 300
  Dallas, TX 75242


  Verla Sue Wilson Holland
  5501 Channel Isle Drive
  Plano, TX 75093


  Wayne Wisniewski


  Wellspring Royalties Ltd.
  3811 Turtle Creek Blvd. #1800
  Dallas, TX 75219


  Wharton, A. B.
  Box 2248
  Vernon, TX 76385
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  White Oak Global Advisors, LLC
  c/o Vinson & Elkins LLP
  Attn: Paul E. Heath & Matthew J. Pyeatt
  2001 Ross Ave.
  Dallas, TX 75201


  White Oak Global Advisors, LLC
  c/o Blakes, Cassels & Graydon LLP
  Attn: Kelly J. Bourassa & Morgan Crilly
  855 - 2nd Street S.W., Suite 3500
  Calgary, AB T2P 4J8


  White Oak Global Advisors, LLC
  Kyle Landau
  3 Embarcadero Center, 5th Floor
  San Francisco, CA 94111


  Wilbarger County
  1700 Wilbarger St Rm 17
  Vernon, TX 76384


  Wilhelm Law Firm
  Attn: Edward M. Wilhelm
  5524 Bee Cave Rd., Ste B-5
  Austin, TX 78746


  Will Living Trust
  c/o Dennis Will, Trustee
  3805 S. Orchid Ave
  Sioux Falls, SD 57110


  William E. Owen Trust
  PO Box 720563
  Oklahoma City, OK 73172


  WTG Gas Processing, L.P.
  Sale Ranch Plant
  211 North Colorado
  Midland, TX 79701-4696
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  York Oil & Gas Holdings, Inc.
  Attn: Erik Linder-Aronson, CEO & Pres.
  911 Central Avenue,#101
  Albany, NY 12206
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 Louis R. Strubeck, Jr.(SBT 19425600)
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 Steve A. Peirce(SBT 15731200)
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 San Antonio, TX 78205
Telephone: (210) 224-5575

 ATTORNEYS FOR CANADIAN RECEIVER


                       IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE NORTHERN DISTRICT OF TEXAS
                                WICHITA FALLS DIVISION

  In re:                                             §
                                                     §           Case No.
  EAGLE ENERGY INC.                                  §
                                                     §           Chapter 15
           Debtor in a foreign proceeding.           §
                                                     §           Joint Administration Pending
                                                     §
                            CORPORATE OWNERSHIP STATEMENT

 Pursuant to Bankruptcy Rules 1007(a) and 7007.1:

                                          EAGLE ENERGY INC.,a

                                  El        Corporate Debtor

                                  O        Party to an adversary proceeding

                                  O        Party to a contested matter

                                  O         Member of committee of creditors

 Makes the following disclosure(s):

 All corporations, other than a governmental unit, that directly or indirectly own ten percent
(10%)or more of any class of the corporation's equity interest are listed below:



 EAGLE ENERGY INC Corporate Ownership (2).DOCX      -1
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        Eagle Energy Inc. is a public corporation amalgamated under the laws of the
        Province of Alberta.

         OR

❑
x      There are no entities that directly or indirectly own 10% or more of any class of the
corporation's equity interest.


Dated: November 20, 2019
Dallas, Texas
                                                 Respectfully submitted,

                                                 NORTON ROSE FULBRIGHT US LLP


                                                By: /s/ Greg M. Wilkes
                                                   Louis R. Strubeck, Jr.(SBT 19425600)
                                                   louis.stubeck@nortonrosefulbright.com
                                                   Greg M. Wilkes(SBT 24047105)
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                                                 and

                                                 Steve A. Peirce(SBT 15731200)
                                                (pro hac vice pending)
                                                 steve.peirce@nortonrosefulbright.corn
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                                                ATTORNEYS FOR CANADIAN RECEIVER




EAGLE ENERGY INC Corporate Ownership (2).DOCX    -2
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   COURT FILE NUMBER

   COURT                              COURT OF QUEEN'S BENCH OF ALBERT

   JUDICIAL CENTRE                    CALGARY

                                      IN THE MATTER OF AN APPLICATION UNDER
                                      SUBSECTION 243(1) OF THE BANKRUPTCY AND
                                      INSOLVENCY ACT, RSC 1985, C B-3, AS AMENDED

   APPLICANT                          WHITE OAK GLOBAL ADVISORS, LLC,IN ITS
                                      CAPACITY AS ADMINISTRATIVE AGENT UNDER THAT
                                      CERTAIN CREDIT AGREEMENT DATED MARCH 13,
                                      2017, AS AMENDED

  RESPONDENT                          EAGLE ENERGY INC., EAGLE ENERGY TRUST,EAGLE
                                      ENERGY HOLDINGS INC., AND EAGLE        0
                                      HYDROCARBONS INC.                      SI)
                                                                             0
  DOCUMENT                            RECEIVERSHIP ORDER



                                      BLAKE,CASSELS & GRAYDON LLP
  ADDRESS FOR SERVICE
                                      3500, 855 — 2nd Street S.W.
  AND CONTACT
                                      Bankers Hall East Tower
  INFORMATION OF PARTY
                                      Calgary, AB T2P 4J8
  FILING THIS DOCUMENT
                                      Attn: Kelly Bourassa / Morgan Crilly
                                      Tel: 403-260-9697 /9657
                                      Fax: 403-260-9700
                                      Email: kelly.bourassa@blakes.com / morgaitcrilly@blakes.corn
                                      File: 74169/5




  DATE ON WHICH ORDER WAS PRONOUNCED:                        November 19, 2019

  NAME OF JUDGE WHO MADE THIS ORDER:                         The Honourable Justice R.A. Neufeld

  LOCATION OF HEARING:                                       Calgary, Alberta


           UPON the originating application of White Oak Global Advisors, LLC ("White Oak", or the
  "Agent"), as the administrative agent on behalf of a group of corporate entities, including White Oak
  Partners, LLC and White Oak Partners 2, LLC (collectively, the "Lenders"), in respect of Eagle Energy




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   Inc., Eagle Energy Trust, Eagle Energy Holdings Inc., and Eagle Energy Hydrocarbons Inc. (collectively,
   the "Debtors");
           AND UPON having read the Application, the Affidavit of Barbara McKee sworn November 18,
   2019, and the Affidavit of Service of Linsday Farr sworn November 19, 2019;
           AND UPON reading the consent of FTI Consulting Canada Inc. LIT ("FTI") to act as receiver
   and manager("Receiver") of the Debtors;
           AND UPON hearing counsel for the Agent, counsel for the proposed Receiver, and any other
   counsel or other interested parties in attendance; IT IS HEREBY ORDERED AND DECLARED
  THAT:

  SERVICE

   1.      The time for service of the originating application for this order (the "Order")is hereby abridged
           and service thereof is deemed good and sufficient and this application is properly returnable
           today.

   APPOINTMENT

  2.       Pursuant to section 243(1) and 243(1.1)(b) of the Bankruptcy and Insolvency Act, RSC 1985, c B-
           3 (the "BIA"), and section 13(2) of the Judicature Act, RSA 2000, c J-2, FTI Consulting Canada
           Inc. LIT ("FTI") is hereby appointed Receiver, without security, of all of the Debtors' current and
           future assets, undertakings and properties of every nature and kind whatsoever, and wherever
           situate, including all proceeds thereof(the "Property").

  RECEIVER'S POWERS

  3.       The Receiver is hereby empowered and authorized, but not obligated, to act at once in respect of
           the Property and, without in any way limiting the generality of the foregoing, the Receiver is
           hereby expressly empowered and authorized to do any of the following where the Receiver
           considers it necessary or desirable:

          (a)       to take possession of and exercise control over the Property and any and all proceeds,
                    receipts and disbursements arising out of or from the Property;

         (b)        to receive, preserve and protect the Property, or any part or parts thereof, including, but
                    not limited to, the changing of locks and security codes, the relocating of Property to
                    safeguard it, the engaging of independent security personnel, the taking of physical




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                inventories and the placement of such insurance coverage as may be necessary or
                desirable;

          (c)   to manage, operate and carry on the business of the Debtors, including the powers to
                enter into any agreements, incur any obligations in the ordinary course of business, cease
                to carry on all or any part of the business, or cease to perform any contracts of the
                Debtors;

          (d)   to engage consultants, appraisers, agents, experts, auditors, accountants, managers,
                counsel and such other persons from time to time and on whatever basis, including on a
                temporary basis, to assist with the exercise of the Receiver's powers and duties, including
                without limitation those conferred by this Order;

          (e)   to purchase or lease machinery, equipment, inventories, supplies, premises or other assets
                to continue the business ofthe Debtors or any part or parts thereof;

                to receive and collect all monies and accounts now owed or hereafter owing to the
                Debtors and to exercise all remedies of the Debtors in collecting such monies, including,
                without limitation, to enforce any security held by the Debtors;

          (g)   to settle, extend or compromise any indebtedness owing to or by the Debtors;

          (h)   to execute, assign, issue and endorse documents of whatever nature in respect of any of
                the Property, whether in the Receiver's name or in the name and on behalf of the Debtors,
                for any purpose pursuant to this Order;

          (i)   to undertake environmental or workers' health and safety assessments of the Property and
                operations of the Debtors;

                to initiate, prosecute and continue the prosecution of any and all proceedings and to
                defend all proceedings now pending or hereafter instituted with respect to the Debtors,
                the Property or the Receiver, and to settle or compromise any such proceedings. The
                authority hereby conveyed shall extend to such appeals or applications for judicial review
                in respect of any order or judgment pronounced in any such proceeding, and provided
                further that nothing in this Order shall authorize the Receiver to defend or settle the
                action in which this Order is made unless otherwise directed by this Court;




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          (k)    to market any or all the Property, including advertising and soliciting offers in respect of
                 the Property or any part or parts thereof and negotiating such terms and conditions of sale
                 as the Receiver in its discretion may deem appropriate;

          (1)    to sell, convey, transfer, lease or assign the Property or any part or parts thereof out ofthe
                ordinary course of business:

                (0       without the approval of this Court in respect of any transaction not exceeding
                         $500,000, provided that the aggregate consideration for all such transactions does
                         not exceed $1,000,000; and

                (ii)     with the approval of this Court in respect of any transaction in which the
                         purchase price or the aggregate purchase price exceeds the applicable amount set
                         out in the preceding clause,

                and in each such case notice under subsection 60(8) of the Personal Property Security
                Act, RSA 2000, c P-7 or any other similar legislation in any other province or territory
                shall not be required.

          (m)   to apply for any vesting order or other orders (including, without limitation,
                confidentiality or sealing orders) necessary to convey the Property or any part or parts
                thereof to a purchaser or purchasers thereof, free and clear of any liens or encumbrances
                affecting such Property;

          (n)   to report to, meet with and discuss with such affected Persons (as defined below) as the
                Receiver deems appropriate all matters relating to the Property and the receivership, and
                to share information, subject to such terms as to confidentiality as the Receiver deems
                advisable;

          (o)   to register a copy of this Order and any other orders in respect of the Property against title
                to any of the Property, and when submitted by the Receiver for registration this Order
                shall be immediately registered by the Registrar of Land Titles of Alberta, or any other
                similar government authority, notwithstanding Section 191 of the Land Titles Act, RSA
                2000, c. L-4, or the provisions of any other similar legislation in any other province or
                territory, and notwithstanding that the appeal period in respect of this Order has not
                elapsed and the Registrar of Land Titles shall accept all Affidavits of Corporate Signing
                Authority submitted by the Receiver in its capacity as Receiver of the Debtors and not in
                its personal capacity;



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           (p)     to apply for any permits, licences, approvals or permissions as may be required by any
                   governmental authority and any renewals thereof for and on behalf of and, if thought
                   desirable by the Receiver, in the name of the Debtors;

          (q)      to enter into agreements with any trustee in bankruptcy appointed in respect of the
                   Debtor, including, without limiting the generality of the foregoing, the ability to enter
                   into occupation agreements for any property owned or leased by the Debtors;

          (r)      to exercise any shareholder, partnership, joint venture or other rights which the Debtors
                   may have; and

          (s)      to take any steps reasonably incidental to the exercise of these powers or the performance
                   of any statutory obligations;

           and in each case where the Receiver takes any such actions or steps, it shall be exclusively
           authorized and empowered to do so, to the exclusion of all other Persons (as defined below),
           including the Debtors, and without interference from any other Person.

  DUTY TO PROVIDE ACCESS AND CO-OPERATION TO THE RECEIVER

  4.       (i) The Debtors, (ii) all of their current and former directors, officers, employees, agents,
           accountants, legal counsel and shareholders, and all other persons acting on its instructions or
           behalf, and (iii) all other individuals, firms, corporations, governmental bodies or agencies, or
           other entities having notice of this Order (all of the foregoing, collectively, being "Persons" and
           each being a "Person") shall forthwith advise the Receiver of the existence of any Property in
           such Person's possession or control, shall grant immediate and continued access to the Property to
           the Receiver, and shall deliver all such Property (excluding Property subject to liens the validity
           of which is dependent on maintaining possession) to the Receiver upon the Receiver's request.

  5.       All Persons shall forthwith advise the Receiver of the existence of any books, documents,
           securities, contracts, orders, corporate and accounting records, and any other papers, records and
           information of any kind related to the business or affairs of the Debtors, and any computer
           programs, computer tapes, computer disks or other data storage media containing any such
           information (the foregoing, collectively, the "Records") in that Person's possession or control,
           and shall provide to the Receiver or permit the Receiver to make, retain and take away copies
           thereof and grant to the Receiver unfettered access to and use of accounting, computer, software
           and physical facilities relating thereto, provided however that nothing in this paragraph or in



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           paragraph 6 of this Order shall require the delivery of Records, or the granting of access to
           Records, which may not be disclosed or provided to the Receiver due to the privilege attaching to
           solicitor-client communication or documents prepared in contemplation of litigation or due to
           statutory provisions prohibiting such disclosure.

  6.       If any Records are stored or otherwise contained on a computer or other electronic system of
           information storage, whether by independent service provider or otherwise, all Persons in
           possession or control of such Records shall forthwith give unfettered access to the Receiver for
           the purpose of allowing the Receiver to recover and fully copy all of the information contained
           therein whether by way of printing the information onto paper or making copies of computer
           disks or such other manner of retrieving and copying the information as the Receiver in its
           discretion deems expedient, and shall not alter, erase or destroy any Records without the prior
           written consent of the Receiver. Further, for the purposes of this paragraph, all Persons shall
           provide the Receiver with all such assistance in gaining immediate access to the information in
           the Records as the Receiver may in its discretion require including providing the Receiver with
           instructions on the use of any computer or other system and providing the Receiver with any and
           all zccess codes, account names and account numbers that may be required to gain access to the
           information.

  NO PROCEEDINGS AGAINST THE RECEIVER

  7.       No proceeding or enforcement process in any court or tribunal (each, a "Proceeding"), shall be
           commenced or continued against the Receiver except with the written consent of the Receiver or
           with leave ofthis Court.

  NO PROCEEDINGS AGAINST THE DEBTORS OR THE PROPERTY

  8.       No Proceeding against or in respect of the Debtors or the Property shall be commenced or
           continued except with the written consent of the Receiver or with leave of this Court and any and
           all Proceedings currently under way against or in respect of the Debtors or the Property are
           hereby stayed and suspended pending further Order of this Court, provided, however, that nothing
           in this Order shall: (i) prevent any Person from commencing a proceeding regarding a claim that
           might otherwise become barred by statute or an existing agreement if such proceeding is not
           commenced before the expiration of the stay provided by this paragraph; and (ii) affect a
           Regulatory Body's investigation in respect of the Debtors or an action, suit or proceeding that is
           taken in respect of the Debtors by or before the Regulatory Body, other than the enforcement of a


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               payment order by the Regulatory Body or the Court. "Regulatory Body" means a person or body
           that has powers, duties or functions relating to the enforcement or administration of an Act of
           Parliament or of the legislature of a Province.

   NO EXERCISE OF RIGHTS OF REMEDIES

  9.       All rights and remedies of any Person, whether judicial or extra-judicial, statutory or non-
           statutory (including, without limitation, set-off rights) against or in respect of the Debtors or the
           Receiver or affecting the Property are hereby stayed and suspended and shall not be commenced,
           proceeded with or continued except with leave of this Court, including, without limitation, any
           rights or remedies or provisions in any agreement, construction, ownership and operating
           agreement, joint venture agreement or any such similar agreement or agreements to which the
           Debtors are a party that purport to effect or cause a cessation of operatorship as a result of the
           occurrence of any default or non-performance by or the insolvency of the Debtors, the making or
           filing of these proceedings or any allegation, admission or evidence in these proceedings and
           under no circumstances shall Eagle Energy Inc. be replaced as operator pursuant to any such
           agreements without further order of this Court provided, however, that this stay and suspension
           does not apply in respect of any "eligible financial contract" (as defined in the BIA), and further
           provided that nothing in this Order shall:

          (a)         empower the Debtors to carry on any business that the Debtors are not lawfully entitled
                      to carry on;

          (b)         prevent the filing of any registration to preserve or perfect a security interest;

          (c)         prevent the registration of a claim for lien; or

          (d)         exempt the Debtors from compliance with statutory or regulatory provisions relating to
                      health, safety or the environment.

  10.      Nothing in this Order shall prevent any party from taking an action against the Applicant where
           such an action must be taken in order to comply with statutory time limitations in order to
           preserve their rights at law, provided that no further steps shall be taken by such party except in
           accordance with the other provisions of this Order, and notice in writing of such action be given
           to the Receiver at the first available opportunity.




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   NO INTERFERENCE WITH THE RECEIVER

   1 1.    No Person shall accelerate, suspend, discontinue, fail to honour, alter, interfere with, repudiate,
           terminate or cease to perform any right, renewal right, contract, agreement, licence or permit in
           favour of or held by the Debtors, except with the written consent of the Debtors and the Receiver,
           or leave of this Court. Nothing in this Order shall prohibit any party to an eligible financial
           contract (as defined in the BIA) from closing out and terminating such contract in accordance
           with its terms.

   CONTINUATION OF SERVICES

   12.     All persons having:

          (a)      statutory or regulatory mandates for the supply of goods and/or services; or

          (b)      oral or written agreements or arrangements with the Debtors, including without limitation
                   all computer software, communication and other data services, centralized banking
                   services, payroll services, insurance, transportation, services, utility or other services to
                   the Debtors

           are hereby restrained until further order of this Court from discontinuing, altering, interfering
           with, suspending or terminating the supply of such goods or services as may be required by the
           Debtors or exercising any other remedy provided under such agreements or arrangements. The
           Debtors shall be entitled to the continued use of their current premises, telephone numbers,
           facsimile numbers, internet addresses and domain names, provided in each case that the usual
           prices or charges for all such goods or services received after the date of this Order are paid by
           the Debtors in accordance with the payment practices of the Debtors, or such other practices as
           may be agreed upon by the supplier or service provider and each of the Debtors and the Receiver,
           or as may be ordered by this Court.

  RECEIVER TO HOLD FUNDS

  13.      All funds, monies, cheques, instruments, and other forms of payments received or collected by
           the Receiver from and after the making of this Order from any source whatsoever, including
           without limitation the sale of all or any of the Property and the collection of any accounts
           receivable in whole or in part, whether in existence on the date of this Order or hereafter coming
           into existence, shall be deposited into one or more new accounts to be opened by the Receiver



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          (the "Post Receivership Accounts") and the monies standing to the credit of such Post
           Receivership Accounts from time to time, net of any disbursements provided for herein, shall be
           held by the Receiver to be paid in accordance with the terms of this Order or any further order of
           this Court.

  EMPLOYEES

  14.      Subject to employees' rights to terminate their employment, all employees of the Debtors shall
           remain the employees of the Debtors until such time as the Receiver, on the Debtors' behalf, may
           terminate the employment of such employees. The Receiver shall not be liable for any employee-
           related liabilities, including any successor employer liabilities as provided for in section
           14.06(1.2) of the BIA, other than such amounts as the Receiver may specifically agree in writing
           to pay, or in respect of its obligations under sections 81.4(5) or 81.6(3) of the BIA or under the
               Wage Earner Protection Program Act, SC 2005, c 47("WEPPA").

  15.      Pursuant to clause 7(3)(c) of the Personal Information Protection and Electronic Documents Act,
           SC 2000, c 5, the Receiver shall disclose personal information of identifiable individuals to
           prospective purchasers or bidders for the Property and to their advisors, but only to the extent
           desirable or required to negotiate and attempt to complete one or more sales of the Property
          (each, a "Sale"). Each prospective purchaser or bidder to whom such personal information is
           disclosed shall maintain and protect the privacy of such information and limit the use of such
           information to its evaluation of the Sale, and if it does not complete a Sale, shall return all such
           information to the Receiver, or in the alternative destroy all such information. The purchaser of
           any Property shall be entitled to continue to use the personal information provided to it, and
           related to the Property purchased, in a manner which is in all material respects identical to the
           prior use of such information by the Debtors, and shall return all other personal information to the
           Receiver, or ensure that all other personal information is destroyed.

  LIMITATION ON ENVIRONMENTAL LIABILITIES

  16.     (a)        Notwithstanding anything in any federal or provincial law, the Receiver is not personally
           liable in that position for any environmental condition that arose or environmental damage that
           occurred:

                    (i)      before the Receiver's appointment; or




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                (ii)     after the Receiver's appointment unless it is established that the condition arose
                         or the damage occurred as a result of the Receiver's gross negligence or wilful
                         misconduct.

          (b)    Nothing in sub-paragraph (a) exempts a Receiver from any duty to report or make
                 disclosure imposed by a law referred to in that sub-paragraph.

          (c)    Notwithstanding anything in any federal or provincial law, but subject to sub-paragraph
                (a) hereof, where an order is made which has the effect of requiring the Receiver to
                 remedy any environmental condition or environmental damage affecting the Property, the
                 Receiver is not personally liable for failure to comply with the order, and is not
                 personally liable for any costs that are or would be incurred by any person in carrying out
                 the terms of the order,

                (i)      if, within such time as is specified in the order, within 10 days after the order is
                         made if no time is so specified, within 10 days after the appointment of the
                         Receiver, if the order is in effect when the Receiver is appointed, or during the
                         period of the stay referred to in clause (ii) below, the Receiver:

                         A.      complies with the order, or

                         B.      on notice to the person who issued the order, abandons, disposes of or
                                 otherwise releases any interest in any real property affected by the
                                 condition or damage;

                (ii)     during the period of a stay of the order granted, on application made within the
                         time specified in the order referred to in clause (i) above, within 10 days after the
                         order is made or within 10 days after the appointment of the Receiver, if the
                         order is in effect when the Receiver is appointed, by,

                         A.      the court or body having jurisdiction under the law pursuant to which the
                                 order was made to enable the Receiver to contest the order; or

                         B.      the court having jurisdiction in bankruptcy for the purposes of assessing
                                 the economic viability of complying with the order; or

                (iii)   if the Receiver had, before the order was made, abandoned or renounced or been
                         divested of any interest in any real property affected by the condition or damage.




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  LIMITATION ON THE RECEIVER'S LIABILITY

   17.     Except for gross negligence or wilful misconduct, as a result of its appointment or carrying out
           the provisions of this Order the Receiver shall incur no liability or obligation that exceeds an
           amount for which it may obtain full indemnity from the Property. Nothing in this Order shall
           derogate from any limitation on liability or other protection afforded to the Receiver under any
           applicable law, including, without limitation, Section 14.06, 81.4(5) or 81.6(3) of the BIA.

  RECEIVER'S ACCOUNTS

  18.      The Receiver and counsel to the Receiver shall be paid their reasonable fees and disbursements,
           in each case, incurred at their standard rates and charges. The Receiver and counsel to the
           Receiver shall be entitled to the benefits of and are hereby granted a charge (the "Receiver's
           Charge") on the Property, which charge shall not exceed an aggregate amount of $500,000, as
           security for their professional fees and disbursements incurred at the normal rates and charges of
           the Receiver and such counsel, both before and after the making of this Order in respect of these
           proceedings, and the Receiver's Charge shall form a first charge on the Property in priority to all
           security interests, trusts, deemed trusts, liens, charges and encumbrances, statutory or otherwise,
           in favour of any Person but subject to section 14.06(7), 81.4(4), 81.6(2) and 88 of the BIA.

  19.      The Receiver and its legal counsel shall pass their accounts from time to time.

  20.      Prior to the passing of its accounts, the Receiver shall be at liberty from time to time to apply
           reasonable amounts, out of the monies in its hands, against its fees and disbursements, including
           the legal fees and disbursements, incurred at the normal rates and charges of the Receiver or its
           counsel, and such amounts shall constitute advances against its remuneration and disbursements
           when and as approved by this Court.

  FUNDING OF THE RECEIVERSHIP

  21.      The Receiver be at liberty and it is hereby empowered to borrow by way of a revolving credit or
           otherwise, such monies from time to time as it may consider necessary or desirable, provided that
           the outstanding principal amount does not exceed $1,000,000 (or such greater amount as this
           Court may by further order authorize) at any time, at such rate or rates of interest as it deems
           advisable for such period or periods of time as it may arrange, for the purpose of funding the
           exercise of the powers and duties conferred upon the Receiver by this Order, including interim
           expenditures. The whole of the Property shall be and is hereby charged by way of a fixed and


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           specific charge (the "Receiver's Borrowings Charge") as security for the payment of the monies
           borrowed, together with interest and charges thereon, in priority to all security interests, trusts,
           deemed trusts, liens, charges and encumbrances, statutory or otherwise, in favour of any Person,
           but subordinate in priority to the Receiver's Charge and the charges set out in sections 14.06(7),
           81.4(4), 81.6(2) and 88 of the BIA.

  22.      Neither the Receiver's Borrowings Charge nor any other security granted by the Receiver in
           connection with its borrowings under this Order shall be enforced without leave of this Court.

  23.      The Receiver is at liberty and authorized to issue certificates substantially in the form annexed as
           Schedule "A" hereto (the "Receiver's Certificates") for any amount borrowed by it pursuant to
           this Order.

  24.      The monies from time to time borrowed by the Receiver pursuant to this Order or any further
           order of this Court and any and all Receiver's Certificates evidencing the same or any part thereof
           shall rank on a pan passu basis, unless otherwise agreed to by the holders of any prior issued
           Receiver's Certificates.

  25.      The Receiver shall be allowed to repay any amounts borrowed by way of Receiver's Certificates
           out of the Property or any proceeds, including any proceeds from the sale of any assets without
           further approval ofthis Court.

  ALLOCATION

  26.      Any interested party may apply to this Court on notice to any other party likely to be affected, for
           an order allocating the Receiver's Charge and Receiver's Borrowings Charge amongst the various
           assets comprising the Property.

  GENERAL

  27.      The Receiver may from time to time apply to this Court for advice and directions in the discharge
           of its powers and duties hereunder.

  28.      Notwithstanding Rule 6.11 of the Alberta Rules of Court, unless otherwise ordered by this Court,
           the Receiver will report to the Court from time to time, which reporting is not required to be in
           affidavit form and shall be considered by this Court as evidence. The Receiver's reports shall be
           filed by the Court Clerk notwithstanding that they do not include an original signature.



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   29.         Nothing in this Order shall prevent the Receiver from acting as a trustee in bankruptcy of the
           Debtor.

   30.     This Court hereby requests the aid and recognition of any court, tribunal, regulatory or
           administrative body having jurisdiction in Canada or in any foreign jurisdiction to give effect to
           this Order and to assist the Receiver and its agents in carrying out the terms of this Order. All
           courts, tribunals, regulatory and administrative bodies are hereby respectfully requested to make
           such orders and to provide such assistance to the Receiver, as an officer of this Court, as may be
           necessary or desirable to give effect to this Order, to grant representative status to the Receiver in
           any United States proceeding, or to assist the Receiver and its agents in carrying out the terms of
           this Order.

   31.     The Receiver be at liberty and is hereby authorized and empowered to apply to any court,
           tribunal, regulatory or administrative body, wherever located, for the recognition of this Order
           and for assistance in carrying out the terms of this Order and that the Receiver is authorized and
           empowered to act as a representative in respect of the within proceedings for the purpose of
           having these proceedings recognized in a jurisdiction outside Canada.

  32.      The Plaintiff shall have its costs of this application, up to and including entry and service of this
           Order, provided for by the terms of the Plaintiffs security or, if not so provided by the Plaintiffs
           security, then on a substantial indemnity basis, including legal costs on a solicitor-client full
           indemnity basis, to be paid by the Receiver from the Debtors' estate with such priority and at such
           time as this Court may determine.

  33.      Any interested party may apply to this Court to vary or amend this Order on not less than 7 days'
           notice to the Receiver and to any other party likely to be affected by the order sought or upon
           such other notice, if any, as this Court may order.

  FILING

  34.      The Receiver shall establish and maintain a website in respect of these proceedings at
           http://cfcanada.fticonsulting,c-om/Eagleenergy (the "Receiver's Website") and shall post
           there as soon as practicable:

          (a)         all materials prescribed by statue or regulation to be made publically available; and




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          (b)        all applications, reports, affidavits, orders and other materials filed in these proceedings
                     by or on behalf of the Receiver, or served upon it, except such materials as are
                     confidential and the subject of a sealing order or pending application for a sealing order.

  35.      Service of this Order shall be deemed good and sufficient by:

          (a)        serving the same on:

                    (i)      the persons listed on the service list created in these proceedings or otherwise
                             served with notice of these proceedings;

                    (ii)     any other person served with notice ofthe application for this Order;

                    (iii)    any other parties attending or represented at the application for this Order; and

          (b)        posting a copy ofthis Order on the Receiver's Website

           and service on any other person is hereby dispensed with.

  36.      Service of this Order may be effected by facsimile, electronic mail, personal delivery or courier.
           Service is deemed to be effected the next business day following transmission or delivery of this
           Order.




                                                        Justice of the Court of Queen's Bench of Alberta




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                                                SCHEDULE "A"

                                          RECEIVER CERTIFICATE


  CERTIFICATE NO.

  AMOUNT


  1.       THIS IS TO CERTIFY that FTI Consulting Canada Inc. LIT, the receiver and manager (the
           "Receiver") of all of the assets, undertakings and properties of Eagle Energy Inc., Eagle Energy
           Trust, Eagle Energy Holdings Inc., and Eagle Hydrocarbons Inc. appointed by Order of the Court
           of Queen's Bench of Alberta and Court of Queen's Bench of Alberta in Bankruptcy and
           Insolvency (collectively, the "Court") dated the [•]th day of November, 2019 (the "Order")
           made in action number [•], has received as such Receiver from the holder of this certificate (the
           "Lender") the principal sum of $          , being part of the total principal sum of $       that
           the Receiver is authorized to borrow under and pursuant to the Order.

  2.       The principal sum evidenced by this certificate is payable on demand by the Lender with interest
           thereon calculated and compounded [daily] [monthly not in advance on the           day of each
           month] after the date hereof at a notional rate per annum equal to the rate of         per cent
           above the prime commercial lending rate of Bank of            from time to time.

  3.       Such principal sum with interest thereon is, by the terms of the Order, together with the principal
           sums and interest thereon of all other certificates issued by the Receiver pursuant to the Order or
           to any further order of the Court, a charge upon the whole of the Property (as defined in the
           Order), in priority to the security interests of any other person, but subject to the priority of the
           charges set out in the Order and the Bankruptcy and Insolvency Act, and the right of the Receiver
           to indemnify itself out of such Property in respect of its remuneration and expenses.

  4.       All sums payable in respect of principal and interest under this certificate are payable at the main
           office of the Lender at:




  5.       Until all liability in respect of this certificate has been terminated, no certificates creating charges
           ranking or purporting to rank in priority to this certificate shall be issued by the Receiver to any
           person other than the holder of this certificate without the prior written consent of the holder of
           this certificate.

  6.       The charge securing this certificate shall operate so as to permit the Receiver to deal with the
           Property as authorized by the Order and as authorized by any further or other order ofthe Court.




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  7        The Receiver does not undertake, and it is not under any personal liability, to pay any sum in
           respect of which it may issue certificates under the terms of the Order.

           DATED the            day of                  ,201

                                                       FTI CONSULTING CANADA INC. LIT, solely
                                                       in its capacity as Receiver of the Property (as
                                                       defined in the Order), and not in its personal
                                                       capacity


                                                       Per:
                                                       Name:
                                                       Title:




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